             Case 15-32012-bjh7               Doc 134    Filed 10/24/17 Entered 10/24/17 13:22:18      Desc Main
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               Robert Yaquinto, Jr.
               Chapter 7 Trustee
               509 N. Montclair Avenue
               Dallas, TX 75208
1A
 101-7-TDR
 /2009
 /2010
 2ems Inc.     (214) 942-5502
                                      UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF TEXAS
                                              DALLAS DIVISION


              In re:                         §
                                             §
              SOS EQUIPMENT LEASING COMPANY, §                         Case No. 15-32012 BJH
              LLC                            §
                                             §
                        Debtor               §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      ROBERT YAQUINTO, JR., TRUSTEE, chapter 7 trustee, submits this Final Account,
              Certification that the Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 5,000,560.18                           Assets Exempt: 0.00
              (Without deducting any secured claims)

              Total Distributions to Claimants: 93,171.40              Claims Discharged
                                                                       Without Payment: 7,593,061.00

              Total Expenses of Administration: 35,383.57


                      3) Total gross receipts of $ 128,554.97 (see Exhibit 1), minus funds paid to the debtor
              and third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 128,554.97 from the
              liquidation of the property of the estate, which was distributed as follows:




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                                                  CLAIMS           CLAIMS                 CLAIMS                 CLAIMS
                                                SCHEDULED         ASSERTED               ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                 $ 5,093,712.91       $ 42,842.95            $ 42,842.95           $ 42,842.95

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                          NA          30,340.24              30,340.24                30,340.24

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                  NA           5,043.33               5,043.33                 5,043.33

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                  0.00         68,769.66              68,769.66                50,328.45

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                               14,240.69      7,686,356.47           7,366,028.80                     0.00

TOTAL DISBURSEMENTS                              $ 5,107,953.60    $ 7,833,352.65         $ 7,513,024.98          $ 128,554.97


                 4) This case was originally filed under chapter 11 on 05/05/2015 , and it was converted
          to chapter 7 on 11/02/2015 . The case was pending for 23 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 10/05/2017                         By:/s/ROBERT YAQUINTO, JR., TRUSTEE
                                                                         Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                              EXHIBITS TO
                                                            FINAL ACCOUNT


             EXHIBIT 1 – GROSS RECEIPTS

                            DESCRIPTION                                    UNIFORM                                     $ AMOUNT
                                                                          TRAN. CODE1                                  RECEIVED

    Wells Fargo Bank Checking Account No.                                    1129-000                                         1,304.97

EXCESS FUNDS FROM SECURED
CREDITOR AUCTION                                                             1229-000                                     127,250.00

TOTAL GROSS RECEIPTS                                                                                                     $ 128,554.97
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


             EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                    PAYEE                                       DESCRIPTION                          UNIFORM           $ AMOUNT
                                                                                                    TRAN. CODE            PAID

NA                                                                                                      NA                        NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                    $ 0.00
THIRD PARTIES


             EXHIBIT 3 – SECURED CLAIMS

                                                  UNIFORM       CLAIMS
                                                                                    CLAIMS               CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.     SCHEDULED                                                 CLAIMS PAID
                                                                                   ASSERTED             ALLOWED
                                                   CODE     (from Form 6D)

              CAT Financial 2120 West
              End Ave. Nashville, TN
              37203                                                 88,797.00                  NA                 NA              0.00




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                                                UNIFORM       CLAIMS
                                                                              CLAIMS          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.     SCHEDULED                                        CLAIMS PAID
                                                                             ASSERTED        ALLOWED
                                                 CODE     (from Form 6D)

            CAT Financial 2120 West
            End Ave. Nashville, TN
            37203                                                33,467.53              NA             NA            0.00


            CAT Financial 2120 West
            End Ave. Nashville, TN
            37203                                                87,519.27              NA             NA            0.00


            CAT Financial 2120 West
            End Ave. Nashville, TN
            37203                                               104,829.84              NA             NA            0.00


            CAT Financial 2120 West
            End Ave. Nashville, TN
            37203                                               139,391.27              NA             NA            0.00


            CAT Financial 2120 West
            End Ave. Nashville, TN
            37203                                                14,069.17              NA             NA            0.00


            CAT Financial Services PO
            Box 340001 Nashville, TN
            37203                                                64,602.99              NA             NA            0.00


            Kubota Credit Corporation PO
            Box 0559 Carol Stream, IL
            60132                                                35,163.83              NA             NA            0.00


            Kubota Credit Corporation PO
            Box 0559 Carol Stream, IL
            60132                                                34,280.63              NA             NA            0.00




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                                                UNIFORM        CLAIMS
                                                                               CLAIMS          CLAIMS
CLAIM NO.              CLAIMANT                  TRAN.      SCHEDULED                                         CLAIMS PAID
                                                                              ASSERTED        ALLOWED
                                                 CODE      (from Form 6D)

            Representing: CAT Financial
            Services                                                   0.00              NA             NA               0.00


            Vintage Bank P.O. Box 557
            Waxahachie, TX 75168                                 250,028.91              NA             NA               0.00


            Vintage Bank P.O. Box 557
            Waxahachie, TX 75168                               4,119,026.14              NA             NA               0.00


            Wells Fargo 733 Marquett
            Ave., Suite 700 Minneapolis,
            MN 55402                                              39,485.56              NA             NA               0.00


            Wells Fargo 733 Marquett
            Ave., Suite 700 Minneapolis,
            MN 55402                                              28,003.96              NA             NA               0.00


            Wells Fargo 733 Marquett
            Ave., Suite 700 Minneapolis,
            MN 55402                                              26,882.46              NA             NA               0.00


            Wells Fargo 733 Marquett
            Ave., Suite 700 Minneapolis,
            MN 55402                                              28,164.35              NA             NA               0.00


000001      DALLAS COUNTY                       4800-000                NA        42,842.95      42,842.95          42,842.95

TOTAL SECURED CLAIMS                                         $ 5,093,712.91     $ 42,842.95     $ 42,842.95      $ 42,842.95


            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES




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                                         UNIFORM
                                                         CLAIMS          CLAIMS           CLAIMS
              PAYEE                       TRAN.                                                          CLAIMS PAID
                                                       SCHEDULED        ASSERTED         ALLOWED
                                          CODE

ROBERT YAQUINTO, JR.,
TRUSTEE                                   2100-000                 NA         9,677.75        9,677.75          9,677.75


ROBERT YAQUINTO, JR.,
TRUSTEE                                   2200-000                 NA          707.24          707.24            707.24


UNION BANK                                2600-000                 NA         1,457.55        1,457.55          1,457.55


LBJ TITLE SERVICE                         2690-000                 NA            40.00           40.00             40.00


TEXAS DEPARTMENT OF
MOTOR VEHICLES                            2690-000                 NA            38.15           38.15             38.15


U.S. BANKRUPTCY COURT                     2700-000                 NA            87.50           87.50             87.50


OFFICE OF THE UNITED STATES
TRUSTEE                                   2950-000                 NA          325.00          325.00            325.00


SHERMAN & YAQUINTO                        3110-000                 NA       14,920.00       14,920.00          14,920.00


SHERMAN & YAQUINTO                        3120-000                 NA          661.70          661.70            661.70


SHELDON E. LEVY, CPA                      3410-000                 NA         2,360.00        2,360.00          2,360.00


SHELDON E. LEVY, CPA                      3420-000                 NA            65.35           65.35             65.35

TOTAL CHAPTER 7 ADMIN. FEES                                     $ NA       $ 30,340.24     $ 30,340.24      $ 30,340.24
AND CHARGES



           EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES




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                                         UNIFORM
                                                             CLAIMS              CLAIMS              CLAIMS
              PAYEE                       TRAN.                                                                      CLAIMS PAID
                                                           SCHEDULED            ASSERTED            ALLOWED
                                          CODE

COMPTROLLER OF PUBLIC
ACCOUNTS                                  6990-000                     NA              5,043.33          5,043.33          5,043.33

TOTAL PRIOR CHAPTER ADMIN.                                          $ NA             $ 5,043.33        $ 5,043.33        $ 5,043.33
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                               CLAIMS              CLAIMS
                                                UNIFORM
                                                             SCHEDULED            ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                               CLAIMS PAID
                                                              (from Form        (from Proofs of     ALLOWED
                                                 CODE
                                                                  6E)               Claim)

            Dallas County Tax Assessor
            John R. Ames, CTA 500 Elm
            Street Dallas, TX 75202-3304                                0.00                  NA               NA              0.00


            COMPTROLLER OF
000010      PUBLIC ACCOUNTS                     5800-000                0.00             3,000.00         3,000.00         2,195.52


            COMPTROLLER OF
000011A     PUBLIC ACCOUNTS                     5800-000                0.00           65,769.66        65,769.66         48,132.93

TOTAL PRIORITY UNSECURED                                               $ 0.00        $ 68,769.66       $ 68,769.66      $ 50,328.45
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS




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                                                             CLAIMS            CLAIMS
                                                UNIFORM
                                                           SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                            (from Form      (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)             Claim)

            Mustang Rental Services P.O.
            Box 4346 Dept 188 Houston,
            TX 77210                                             5,615.69                 NA              NA              0.00


000003      AULDRIDGE GRIFFIN PC                7100-000         8,625.00            8,625.00        8,625.00             0.00


            CAT FIN COMMERCIAL
000004      ACCT CORP                           7100-000             NA            51,682.39        51,682.39             0.00


            CATERPILLAR
            FINANCIAL SERVICES
000006      CORP                                7100-000             NA           452,759.87      132,432.20              0.00


            COMPTROLLER OF
000011B     PUBLIC ACCOUNTS                     7100-000             NA              5,691.46        5,691.46             0.00


000007      INTERBANK                           7100-000             NA                  0.00             0.00            0.00


000008A     INTERBANK                           7100-000             NA         2,490,926.51     2,490,926.51             0.00


000008B     INTERBANK                           7100-000             NA           141,362.60      141,362.60              0.00


000009      INTERBANK                           7100-000             NA           162,418.20      162,418.20              0.00


            KUBOTA CREDIT
000002      CORPORATION                         7100-000             NA            34,564.08        34,564.08             0.00


            KUBOTA CREDIT
000005      CORPORATION                         7100-000             NA            32,917.45        32,917.45             0.00


            TWV CAPITAL
000013      MANAGEMENT, L.L.C.                  7100-000             NA         4,305,408.91     4,305,408.91             0.00




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                                                            CLAIMS             CLAIMS
                                                UNIFORM
                                                          SCHEDULED           ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                          CLAIMS PAID
                                                           (from Form       (from Proofs of    ALLOWED
                                                 CODE
                                                               6F)              Claim)

TOTAL GENERAL UNSECURED                                       $ 14,240.69     $ 7,686,356.47   $ 7,366,028.80           $ 0.00
CLAIMS




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                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                       Page:       1
                                                                                              ASSET CASES                                                                                                         Exhibit 8
Case No:             15-32012       BJH Judge: BARBARA J. HOUSER - DALLAS                                                                     Trustee Name:                      ROBERT YAQUINTO, JR., TRUSTEE
Case Name:           SOS EQUIPMENT LEASING COMPANY, LLC                                                                                       Date Filed (f) or Converted (c):   11/02/15 (c)
                                                                                                                                              341(a) Meeting Date:               12/01/15
For Period Ending: 10/05/17
                                                                                                                                              Claims Bar Date:                   03/01/16

                                1                                             2                     3                      4                   5                         6                       7                      8
                                                                                             Est Net Value
                                                                                                                      Property                                       Asset Fully
                                                                                           (Value Determined
                                                                        Petition/                                     Formally             Sale/Funds            Administered (FA)/
                                                                                            by Trustee, Less
                         Asset Description                             Unscheduled                                   Abandoned             Received by        Gross Value of Remaining           Lien              Exempt
                                                                                           Liens, Exemptions,
             (Scheduled and Unscheduled (u) Property)                    Values                                      OA=554(a)              the Estate                 Assets                   Amount             Amount
                                                                                            and Other Costs)
 1. Woodhaven Bank Checking Account No. xxxxx7623 (Clo                              0.00                    0.00                                       0.00               FA                             0.00                   0.00


 2. Vintage Bank Checking Account                                                 119.11                 119.11                                        0.00               FA                             0.00                   0.00


 3. Wells Fargo Bank Checking Account No.                                    1,304.97                  1,304.97                                    1,304.97               FA                             0.00                   0.00
     TO BE ABANDONED AND RETURNED TO DEBTOR.


 4. Debes Enterprises                                                        1,623.75                  1,623.75                                        0.00               FA                             0.00                   0.00


 5. Pavecon Ltd.                                                            13,899.30                 13,899.30                                        0.00               FA                             0.00                   0.00


 6. Automobiles See attached Exhibit B (This is the De                     870,820.95                870,820.95                                        0.00               FA                             0.00                   0.00


 7. Machinery and Equipment See attached Exhibit B (Th                   3,768,074.44              3,768,074.44                                        0.00               FA                             0.00                   0.00


 8. Trailers See attached Exhibit B (This is the Debto                     246,022.63                246,022.63                                        0.00               FA                             0.00                   0.00


 9. Prepaid Rent for premises located at 1301 Parker R                     100,000.00                100,000.00                                        0.00               FA                             0.00                   0.00


 10. EXCESS FUNDS FROM SECURED CREDITOR                                             0.00                  50.00                               127,250.00                  FA                             0.00                   0.00
 AUCTION (u)

                                                                                                                                                         Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                     $5,001,865.15             $5,001,915.15                               $128,554.97                         $0.00               $0.00                  $0.00
                                                                                                                                                          (Total Dollar Amount in Column 6)

  _____________________________________________________________________________________________________________________________
  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




LFORM1EX                                                                                                                                                                                                                Ver: 20.00d
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                                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                 Page:       2
                                                                                     ASSET CASES                                                                                   Exhibit 8
Case No:           15-32012       BJH Judge: BARBARA J. HOUSER - DALLAS                                             Trustee Name:                      ROBERT YAQUINTO, JR., TRUSTEE
Case Name:         SOS EQUIPMENT LEASING COMPANY, LLC                                                               Date Filed (f) or Converted (c):   11/02/15 (c)
                                                                                                                    341(a) Meeting Date:               12/01/15
                                                                                                                    Claims Bar Date:                   03/01/16


  VEHICLE TITLE WORK SENT TO VEHICLE BUYERS AT AUCTION. CLAIMS TO BE REVIEWED AND ACCOUNTANT EMPLOYED. ESTIMATED DATE OF
  CLOSING IS 03/31/2017.


  Initial Projected Date of Final Report (TFR): 03/01/16   Current Projected Date of Final Report (TFR): 03/31/17


           /s/    ROBERT YAQUINTO, JR., TRUSTEE
  __________________________________________ Date: 10/05/17
           ROBERT YAQUINTO, JR., TRUSTEE




LFORM1EX                                                                                                                                                                                 Ver: 20.00d
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             15-32012 -BJH                                                                                       Trustee Name:                      ROBERT YAQUINTO, JR., TRUSTEE
  Case Name:           SOS EQUIPMENT LEASING COMPANY, LLC                                                                  Bank Name:                         UNION BANK
                                                                                                                           Account Number / CD #:             *******8966 Checking - Non Interest
  Taxpayer ID No:    *******0482
  For Period Ending: 10/05/17                                                                                              Blanket Bond (per case limit):     $   300,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                             3                                                 4                                            5                       6                    7
    Transaction       Check or                                                                                                    Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                                                                 BALANCE FORWARD                                                                                                             0.00
          11/16/15        3       Wells Fargo Bank                               funds in bank account                           1129-000                   1,304.97                                    1,304.97
          01/25/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                            15.00              1,289.97
          02/25/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                            15.00              1,274.97
          03/10/16     005001     LBJ TITLE SERVICE                              VEHICLE TITLE SEARCH                            2690-000                                            40.00              1,234.97
                                  617 W. KEARNEY, #100
                                  MESQUITE, TX 75149
          03/25/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                            15.00              1,219.97
          04/25/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                            15.00              1,204.97
          05/17/16     005002     TEXAS DEPARTMENT OF MOTOR VEHICLES             COPIES OF 7 TITLES                              2690-000                                            38.15              1,166.82
                                  1925 E. BELTLINE ROAD., SUITE 100
                                  CARROLLTON, TX 75006
          05/17/16     005003     U.S. BANKRUPTCY COURT                          SEVEN (7) CERTIFIED COPIES                      2700-000                                            87.50              1,079.32
                                  1100 COMMERCE ST., 1254                        ORDER ON MOTION TO SELL
                                  DALLAS, TX 75242                               DOCKET NO. 83
          05/20/16       10       New Mill Capital                               auction proceeds                                1229-000              127,250.00                                   128,329.32
                                                                                 Bank Serial #: 0
          05/25/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                            15.00          128,314.32
          06/27/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                            74.73          128,239.59
          07/25/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           184.04          128,055.55
          08/25/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           190.02          127,865.53
          09/26/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           189.74          127,675.79
          10/25/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           183.37          127,492.42
          11/25/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           189.18          127,303.24
          12/27/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           182.82          127,120.42
          01/25/17                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           188.65          126,931.77
          08/28/17     005004     ROBERT YAQUINTO, JR., TRUSTEE                  Chapter 7 Compensation/Fees                     2100-000                                          9,677.75         117,254.02
                                  509 NORTH MONTCLAIR AVENUE
                                  DALLAS, TX 75208


                                                                                                                           Page Subtotals              128,554.97                  11,300.95
                                                                                                                                                                                                        Ver: 20.00d
LFORM24
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             15-32012 -BJH                                                                                       Trustee Name:                    ROBERT YAQUINTO, JR., TRUSTEE
  Case Name:           SOS EQUIPMENT LEASING COMPANY, LLC                                                                  Bank Name:                       UNION BANK
                                                                                                                           Account Number / CD #:           *******8966 Checking - Non Interest
  Taxpayer ID No:    *******0482
  For Period Ending: 10/05/17                                                                                              Blanket Bond (per case limit):   $      300,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                                3                                              4                                            5                        6                   7
    Transaction       Check or                                                                                                    Uniform                                                       Account / CD
       Date           Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)        Balance ($)
          08/28/17     005005     ROBERT YAQUINTO, JR., TRUSTEE                   Chapter 7 Expenses                             2200-000                                            707.24         116,546.78
                                  509 NORTH MONTCLAIR AVENUE
                                  DALLAS, TX 75208
          08/28/17     005006     Office of the United States Trustee             Claim 000014A, Payment 100.00000%              2950-000                                            325.00         116,221.78
                                  1100 Commerce Street
                                  Room 976
                                  Dallas, TX 75242
          08/28/17     005007     SHELDON E. LEVY, CPA                            Claim ACCT EXPS, Payment 100.00000%            3420-000                                             65.35         116,156.43
                                  6320 SOUTHWEST BLVD., SUITE 204                 ACCOUNTANT FOR TRUSTEE EXPENSES
                                  FORT WORTH, TX 76109
          08/28/17     005008     SHELDON E. LEVY, CPA                            Claim ACCT FEES, Payment 100.00000%            3410-000                                           2,360.00        113,796.43
                                  6320 SOUTHWEST BLVD., SUITE 204                 ACCOUNTANT FOR TRUSTEE FEES
                                  FORT WORTH, TX 76109
          08/28/17     005009     SHERMAN & YAQUINTO                              Claim ATTNY EXPS, Payment                      3120-000                                            661.70         113,134.73
                                  509 N. MONTCLAIR                                100.00000%
                                  DALLAS, TX 75208                                ATTORNEY FOR TRUSTEE EXPENSES
          08/28/17     005010     SHERMAN & YAQUINTO                              Claim ATTNY FEES, Payment                      3110-000                                       14,920.00               98,214.73
                                  509 N. MONTCLAIR                                100.00000%
                                  DALLAS, TX 75208                                ATTORNEY FOR TRUSTEE FEES
          08/28/17     005011     Comptroller of Public Accounts                  Claim 000012, Payment 100.00000%               6990-000                                           5,043.33            93,171.40
                                  c/o Office of the Attorney General
                                  Bankruptcy - Collections Division MC-008
                                  PO Box 12548
                                  Austin TX 78711-2548
          08/28/17     005012     Dallas County                                   Claim 000001, Payment 100.00000%               4800-000                                       42,842.95               50,328.45
                                  Linebarger Goggan Blair & Sampson, LLP
                                  c/o Elizabeth Weller
                                  2777 N Stemmons Frwy Ste 1000
                                  Dallas, Texas 75207
          08/28/17     005013     Comptroller of Public Accounts                  Claim 000010, Payment 73.18400%                5800-000                                           2,195.52            48,132.93

                                                                                                                           Page Subtotals                        0.00               69,121.09
                                                                                                                                                                                                        Ver: 20.00d
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                                      Case 15-32012-bjh7                Doc 134 Filed 10/24/17 Entered 10/24/17 13:22:18                                   Desc Main
                                                                               Document FORM
                                                                                           Page
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                       Exhibit 9
  Case No:             15-32012 -BJH                                                                                        Trustee Name:                       ROBERT YAQUINTO, JR., TRUSTEE
  Case Name:           SOS EQUIPMENT LEASING COMPANY, LLC                                                                   Bank Name:                          UNION BANK
                                                                                                                            Account Number / CD #:              *******8966 Checking - Non Interest
  Taxpayer ID No:    *******0482
  For Period Ending: 10/05/17                                                                                               Blanket Bond (per case limit):      $     300,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                              3                                              4                                                 5                          6                         7
    Transaction       Check or                                                                                                     Uniform                                                               Account / CD
       Date           Reference               Paid To / Received From                       Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                  c/o Office of the Attorney General
                                  Bankruptcy - Collections Division MC-008
                                  PO Box 12548
                                  Austin TX 78711-2548
          08/28/17     005014     Comptroller of Public Accounts                 Claim 000011A, Payment 73.18409%                 5800-000                                            48,132.93                         0.00
                                  c/o Office of the Attorney General
                                  Bankruptcy - Collections Division MC-008
                                  PO Box 12548
                                  Austin TX 78711-2548

                                                                                                        COLUMN TOTALS                                    128,554.97                  128,554.97                          0.00
                                                                                                            Less: Bank Transfers/CD's                          0.00                        0.00
                                                                                                        Subtotal                                         128,554.97              128,554.97
                                                                                                            Less: Payments to Debtors                                                  0.00
                                                                                                        Net
                                                                                                                                                         128,554.97              128,554.97
                                                                                                                                                                                NET                             ACCOUNT
                                                                                                        TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                                   Checking - Non Interest - ********8966                 128,554.97                  128,554.97                          0.00
                                                                                                                                                ------------------------    ------------------------   ------------------------
                                                                                                                                                          128,554.97                  128,554.97                          0.00
                                                                                                                                                ==============             ==============              ==============
                                                                                                                                                 (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                            Transfers)               To Debtors)                    On Hand




                                                                                                                            Page Subtotals                          0.00                 48,132.93
                                                                                                                                                                                                                   Ver: 20.00d
LFORM24
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